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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                ABERDEEN DIVISION

PAUL N. ROYAL as Administrator Ad Litem for the Estate of
RICKY JAVENTIA BALL, Deceased, and on behalf of All
Wronful Death Beneficiaries,

        Plaintiff,

vs.                                                         Docket No.: 1:16cv176-GHD-SAA
                                                           JURY DEMANDED

CANYON BOYKIN, Individually and
in his Official Capacity as an Offier of the
Columbus Police Department;
JOHNNY BRANCH, Individually and
in his Official Capacity as an Officer of the
Columbus Police Department;
YOLANDA YOUNG, Individually and in
her Official Capacity as an Officer of the
Columbus Police Department;
GARRETT MITTAN, Individually and in
his Official Capacity as an Officer of the
Columbus Police Department;
JOHN DOES I-X, Individually and in
their Official Capacity as an Officer of the
Columbus Police Department;
TONY CARLETON, Individually and in
his Official Capacity as an Officer of the
Columbus Police Department;
CITY OF COLUMBUS, MISSISSIPPI,

        Defendants

       MOTION TO WITHDRAW DEFENDANTS JOHNNY BRANCH’S, YOLANDA
      YOUNG’S AND GARRETT MITTAN’S MOTION FOR SUMMARY JUDGMENT
                     BASED ON QUALIFIED IMMUNITY

        COME NOW, Defendants, Johnny Branch, Yolanda Young and Garrett Mittan

(“Defendants” or “these Defendants”), by and through Counsel, and file this their Motion to



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Withdraw the Motion for Summary Judgment Based on Qualified Immunity [ECF Nos. 126 and

127], and in support would show unto the Court the following, to-wit:

       1.      On October 6, 2017, these Defendants filed a Motion for Summary Judgment

Based on Qualified Immunity along with Exhibits [ECF No. 126] and an accompanying

Memorandum of Law in Support [ECF No. 127].

       2.      Due to the brevity of this Motion, these Defendants request that the briefing

requirement be waived; however, if the Court desires a Brief, counsel for these Defendants will

provide one.

               This the 12th day of October, 2017.

                                     Respectfully submitted,


                                      /s/ James C. Griffin
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                                     James C. “Cory” Griffin (MS Bar No. 104566)
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                                          CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing document with the Clerk of the Court using the ECF
system which sent notification of such filing to the following:

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        This the 12th day of October, 2017.


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